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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION


 ALBERTUS CONNER JR #50640                       CASE NO. 5:24-CV-01147 SEC P

 VERSUS                                          JUDGE S. MAURICE HICKS, JR.

 WARDEN                                          MAGISTRATE JUDGE PEREZ-MONTES

                                    JUDGMENT

         For the reasons stated in the Report and Recommendation of the Magistrate Judge

 previously filed herein (ECF No. 8), noting the absence of objection thereto, and

 concurring with the Magistrate Judge’s findings under the applicable law;

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Petition for Writ

 of Habeas Corpus (ECF No. 5) is DISMISSED WITHOUT PREJUDICE.

         THUS DONE AND SIGNED, in Shreveport, Louisiana, this 19th day of February

 2025.




                                                        S. Maurice Hicks, Jr.
                                                     United States District Judge
